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1
                                                                      E-Filed on 4/19/2007
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      Phoenix, AZ 85004
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6
      Financial Advisor
7     For the Official Unsecured Creditors’ Committee

8
                             UNITED STATES BANKRUPTCY COURT
9
                                 FOR THE DISTRICT OF NEVADA
10                                                 Jointly Administered

11    In Re:                                              Chapter 11 Cases
12    USA Commercial Mortgage Company
      06-10725 – Lead Case                                Judge Linda B. Riegle Presiding
13
      USA Capital Realty Advisors, LLC                    Date:
14    06-10726                                            Time:
                                                          Affecting:
15    USA Capital Diversified Trust Deed Fund, LLC           All Cases
      06-10727                                            or Only:
16                                                        _ USA Commercial Mortgage
      USA Capital First Trust Deed Fund, LLC              Company
17    06-10728                                               USA Capital Realty Advisors, LLC
                                                             USA Capital Diversified Trust Deed
18    USA Securities, LLC                                 Fund, LLC
      06-10729                                               USA Capital First Trust Deed Fund,
19                                          Debtors.
                                                          LLC

20                                                      FIRST AND FINAL APPLICATION
                                                        FOR AWARD OF PROFESSIONAL
21
                                                        FEES AND REIMBURSEMENT OF
22                                                      EXPENSES OF SIERRA
                                                        CONSULTING GROUP LLC AS
23                                                      FINANCIAL ADVISOR TO THE
                                                        OFFICIAL UNSECURED
24                                                      CREDITORS COMMITTEE FOR
                                                        USA COMMERCIAL MORTGAGE
25                                                      COMPANY FOR THE PERIOD OF
26                                                      JULY 14, 2006 THROUGH MARCH
                                                        12, 2007
27

28



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1

2           Sierra Consulting Group, LLC (“Sierra”) hereby applies to this Court and

3     makes this First and Final Application for Award of Professional Fees and
4
      Reimbursement of Expenses of Sierra Consulting Group, LLC as Financial Advisors
5
      to the Official Unsecured Creditors’ Committee for USA Commercial Mortgage
6

7     Company for the Period of July 14, 2006 through March 12. 2007 (the “Sierra

8     Application”) pursuant to 11 U.S.C. Section 328 for: (a) allowance of reasonable
9     interim compensation in the amount of $367,984.50 for 1,345.8 hours of professional
10
      services rendered by Sierra on behalf of the Official Unsecured Creditors’
11
      Committee for USA Commercial Mortgage Company, and (b) reimbursement of
12

13    $8,241.05 in actual and necessary expenses incurred for the period of July 14, 2006

14    through March 12, 2007 (the “Application Period”).
15

16
      BACKGROUND
17

18          On April 13, 2006, (the “Petition Date”), USA Commercial Mortgage Company

19    (“USACM”) along with other related entities commenced its Chapter 11 cases by filing a

20    voluntary petition under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy

21    Code”).

22          On or about July 14, 2006 the Official Committee of Unsecured Creditors’ for

23    USA Commercial Mortgage (the “Committee”) filed its Application Pursuant to F.

24    R. BANKR. P. 2014(a) for Order Under Section 1103 of the Bankruptcy Code

25    Authorizing the Employment and Retention of Sierra Consulting Group, LLC as

26    Financial Advisors to the Official Unsecured Creditors’ Committee for USA

27    Commercial Mortgage Company [Docket No. 878] (the “Sierra Employment

28    Application”) which was effective as of July 14, 2006, and on April 21, 2005 the



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1     Court entered its Order Approving Application Pursuant to F. R. BANKR. P.
2     2014(a) for Order Under Section 1103 of the Bankruptcy Code Authorizing the
3     Employment and Retention of Sierra Consulting Group, LLC as Financial Advisors
4     to the Official Unsecured Creditors’ Committee for USA Commercial Mortgage
5     Company [Docket No. 1138] (the “Sierra Employment Order”), thereby granting the
6     Debtor’s request to employ Sierra to serve as its Financial Advisor in connection
7     with this Chapter 11 proceeding. Pursuant to the Sierra Employment Application,

8     Sierra’s retention was effective as of July 14, 2006. In this capacity, Sierra has

9     rendered various financial and restructuring advisory services to the Debtor. On

10    December 20, 2006, the Court made a ruling, confirming the "Debtors' Third

11    Amended Joint Chapter 11 Plan of Reorganization" [Docket No. 1799] (the "Plan").

12    The Plan became effective on March 12, 2007.

13

14           To date, Sierra has not filed any previous fee and expense reimbursement

15    applications however it has been submitting monthly invoices to the Debtor with

16    copies to the other professionals involved in these matters as well as to the office of

17    the United States Trustee pursuant to the "Administrative Order Establishing

18    Procedures for Interim Compensation and Reimbursement of Expenses of

19    Professionals," entered on August 29, 2006 [Docket No. 1199] (the "Interim

20    Compensation Order"), where this Court has established certain procedures with

21    respect to the interim compensation of professionals of the Debtors' estates;. To

22    date, Sierra has received three partial payments in the amount of $253,012.81.

23

24
      FEES AND EXPENSES INCURRED DURING APPLICATION PERIOD
25

26           A summary of fees and expenses included in this Sierra Application is as

27    follows:

28



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1

2     Period                                       Fees          Expenses     Total
      July 14, 2006 – March 12, 2007               $367,984.50   $8,241.05    $376,225.55
3

4                     Less Partial Payment Received                           $253,012.81

5                     Net Amount Due                                          $123,212.74

6

7
               See Exhibits A and B for a summary of professionals fees and expenses
8
      incurred by professional and category for this application.
9

10
               In rendering the services which compensation is sought by this Sierra
11
      Application, the Sierra professionals incurred a total of 1,345.8 hours of professional
12
      time during the period Application Period. The professional fees for such services
13
      computed at Sierra’s standard hourly rates for similar services are $367,984.50. The
14
      net average blended billing rate for services rendered by Sierra during the
15
      Application Period is approximately $273.43. See attached Exhibit A for a summary
16
      of all fees incurred by professional and Exhibit B for a summary of all fees incurred
17
      by activity.
18
               Sierra incurred a total of $8,241.05 in expenses during the Application Period
19    and are comprised of necessary out-of-pocket charges incurred including airfare,
20    lodging, car rental, airport parking, out of town meals and other misc. expenses. See
21    Exhibit C for a detailed listing of all expenses incurred.
22             Pursuant to this Sierra Application, the standard rates charged by professionals
23    providing services in this Chapter 11 matter were previously disclosed in the Sierra
24    Employment Application and subsequently approved by the Court in the Sierra
25    Employment Order.
26             Sierra’s time entries are recorded contemporaneously with a description of the
27    services rendered by one-tenth of an hour (0.10 hour) increments. See Exhibit C for
28    detailed description of all time incurred.



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1            The professional fees for which Sierra is seeking payment are believed to
2     comply with the Office of the United States Trustee’s Billing Guidelines. The
3     compensation Sierra seeks is reasonable and is for actual and necessary services
4     rendered. The types of services performed by Sierra were previously approved by
5     the Court in the Sierra Employment Application. Sierra believes that all of the
6     services performed by its professionals have been beneficial to the Debtor’s estate, as
7     well as to the interested parties to those proceedings, and have substantially

8     contributed to the case.

9            There is no agreement or understanding between Sierra and any other party,

10    other than the employees of Sierra, for the sharing of compensation received, or to be

11    received, for services rendered in connection with this matter.

12           Sierra has provided interim monthly fee statements to the members and

13    counsel of the Official Unsecured Creditors’ Committee for USA Commercial

14    Mortgage, the Debtor, counsel for the Debtor, counsel for the other related

15    committees as well as the office of the US Trustee.

16

17           Sierra only received two objections to the Sierra monthly invoices and both

18    partial objections were filed by the US Trustee’s office.

19           The first objection received by Sierra was on November 16, 2006 from the US

20    Trustee’s office who had an objection to Sierra’s September monthly fee statement.

21    The two specific objections to the Sierra September monthly invoice from the US

22    Trustee’s office were:

23           A) Vague Time Entries: Twelve separate entries containing 16 hours of time

24
      at $295/hr were recorded by Mr. Burr with vague descriptions of the related services.

25
      The total amount of related fees is $4,720.00. An adjustment of $1,573.33 is
      warranted to address the lack of sufficient detail in these time entries.
26
             B) Expense Request: The application also requests reimbursement for $23.98
27
      for “Internet charges at hotel” without relating the expense to these cases, any detail
28



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1     as to what actual services were performed via the internet, or how the expense
2     benefited these estates.
3

4            Sierra believes that all of its time entries contain sufficient detail and
5     description of service, however Sierra attempted to contact the US Trustee’s office
6     on two occasions (November 16 and then again on November 22) to request which
7     “twelve separate entries” the US Trustee was referring to so Sierra could furnish

8     additional detail. However, the US Trustee’s office never responded to Sierra’s

9     request. In its request to the US Trustee’s office, Sierra also explained that the

10    $23.98 of “internet charges at hotel” was for Mr. Burr to access his e mail account

11    while he was attending the American Bankruptcy Institute’s Southwest Conference

12    and download various documents including drafts of the Debtors’ sale documents,

13    that were required to be discussed on various conference calls while he was in

14    attendance of the ABI Conference. Sierra believes that all of the fees and expenses

15    referred to in the US Trustee’s objection should be allowed in full.

16

17           The second objection received by Sierra was from the US Trustee’s office

18    who had an objection to Sierra’s October 2006 monthly fee statement. The two

19    specific objections to the Sierra October monthly invoice from the US Trustee’s

20    office were:

21           A) Vague Time Entries: The following vague time entry in excess of .5 hours

22    is contained in the Sierra Consulting Group’s October monthly statement:

23           10/25/2006 DWT QC’d the current data back to prior months activity 1.70

24
      hrs. - $425.00

25
             B) Delegation to Lower Rate Professionals and Paraprofessionals The
      following entry reflecting services rendered by a professional that could have be
26
      easily performed by a lower rate professional or clerical staff:
27
             10/16/2006 DN Search PACER, BMC sites for updated financial info 0.90
28



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1     hrs - $225.00
2

3           Sierra believes that all of its time entries contain sufficient detail and
4     description of service, however Sierra attempted to contact the US Trustee’s office
5     by sending a letter dated December 28, 2006 where Sierra responded to the two
6     specific objections to the October monthly statement and the responses are as
7     follows:

8           Objection 1 Response: As part of our monthly and ongoing tasks in this case,

9           we have been asked to analyze all of the monthly loan collection activity as

10          well as the appropriate holdbacks and collection of allowed serving fees, prior

11          to the Debtor being allowed to make any disbursements to the direct lenders.

12          On a monthly basis, Mesirow sends our firm a rather large file (over 5 megs)

13          that we are required to analyze and once we are comfortable that the Debtor

14          has properly calculated all servicing fees and other holdbacks, we give our

15          approval to Mesirow who then makes the monthly distributions to the direct

16          lenders. As part of this review process, it is necessary to perform a quality

17          control (“QC”) review to the prior months data as some of the data that we

18          receive from Mesirow has a tendency to change from one month to the other

19          when it is expected to remain constant. If any of the data is different from the

20          prior month’s data, we have to follow up with Mesirow to see what the

21          fluctuation is caused by. Our QC analysis has lead to the discovery of certain

22          calculation discrepancies which we pointed out to Mesirow and have been

23          corrected.

24

25
            Objection 2 Response: One of the tasks that our committee has asked us to
            perform on a monthly basis is to review and analyze the monthly operating
26
            reports of the Debtor as well as the actual financial performance of the
27
            USACM estate and then distribute a summary analysis to the committee
28



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1            members. Generally, Mesirow forwards the required financial statements to
2            our firm but despite repeated requests, we do not receive all of the financial
3            information therefore we are required to search the BMC site for some of this
4            requested financial information to perform our analyses. On October 16, this
5            particular task was performed by Mr. Noblitt whose hourly rate is $250.00.
6            Mr. Noblitt has over 10 years of professional experience and holds a masters’
7            degree. By comparison, Sierra’s hourly billing rates are well below that of all

8            other professionals that are working on this case. As an example, Mr.

9            Noblitt’s hourly rate despite him being more experienced is well below those

10           of many of Mesirow’s newer associates ($290) and all of FTI’s professionals

11           ($295 being the lowest rate). Mr. Noblitt has been working on this matter

12           since our firm was hired and he is familiar with all of the various types of

13           financial reports that Mesirow prepares. Mr. Noblitt may have been able to

14           delegate this research to one of our paraprofessionals, but since they do not

15           possess the same knowledge that Mr. Noblitt does, this process would not

16           have been as efficient and would have ended up costing the estate more

17           money.

18

19           The US Trustee’s office never replied or responded to Sierra’s letter.

20           Sierra believes that all of the fees and expenses referred to in both of the US

21    Trustee’s objections should be allowed in full.

22

23           Sierra has provided various services in its capacity as the Financial Advisor to

24
      the Official Unsecured Creditors’ Committee for USA Commercial Mortgage

25
      Company. Professional time incurred on the Committee’s behalf has been assigned
      to the specific task classification to which it mostly relates. Sierra has used its best
26
      efforts to assign its time entries to the various matter classifications in a consistent
27
      manner.
28



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1           During Application Period, Sierra used ten (10) separate and distinct activity
2     codes. These matters and the fees incurred for each matter are as follows:
3                  a.     Asset Sales: Included in this activity code is time related to
4                         performing detailed analyses and review of various proposed
5                         term sheets to purchase certain assets of the estate, meetings and
6                         calls with potential bidders to discuss sale and assets, preparing
7                         schedules of assets proposed to be sold with corresponding book

8                         values, analyzed all bids as received for the best and highest

9                         value for the USACM estate, participated in meeting and

10                        negotiations with bidders, assisted in marketing the USACM

11                        assets to additional potential bidders, answered numerous

12                        questions from potential bidders, participated in negotiations for

13                        bidding procedures and overbid issues, actively participated in

14                        the actual sale, and other related activities. Total hours incurred

15                        for this task code was 139.2 hours and total professional fees

16                        incurred were $40,627.50.

17                 b.     Claims Analysis: Included in this activity code is time related

18                        to performing preliminary analyses on certain claims including

19                        executory and insider claims so counsel could file appropriate

20                        objections and prepared declaration in support of objections.

21                        Total hours incurred for this task code was 33.1 hours and total

22                        professional fees incurred were $8,689.00.

23                 c.     Depos, Trial Prep and Attend: Included in this activity code

24
                          is time related to attending various court hearings and

25
                          depositions that are not elsewhere classified including the
                          hearing on the motion to distribute funds and the deposition of
26
                          Joe Milinowski. Total hours incurred for this task code was
27
                          21.1 hours and total professional fees incurred were $6,224.50.
28



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1                d.      Financial Analysis and Review: Included in this activity code
2                        is all of the time related to various financial analyses and tasks
3                        performed including: detailed analysis of the entire $950M loan
4                        portfolio to determine holdback amounts to recover the $39M of
5                        prepaid interest, analysis of the monthly loan collections to
6                        determine amounts to be distributed to the direct lenders and
7                        amounts to be held back, detailed analysis of the various

8                        USACM balance sheet assets and liabilities, analysis of the

9                        $58M receivable from USA Investment Partners and related

10                       issues with the DTDF, analysis of cash flow projections for the

11                       UASCM estate, analysis of intercompany liabilities and impact

12                       on the USACM estate, analysis if the Debtor’s efforts in

13                       collecting loan principal, interest, default interest, late fees and

14                       other fees due to the USACM estate, analysis of the loans and

15                       related appraisal values, analysis of USACM actual cash flow

16                       performance to Mesirow’s budget and investigated variances,

17                       analysis of the professional fees being charged to the USACM

18                       estate and recommended different allocations to other estates,

19                       performed weekly analyses of actual loan collections and follow

20                       up with Mesirow on forecasted collections, work with Mesirow

21                       on certain loan payoffs and made recommendations to the

22                       USACM committee, conversations with alternative loan serving

23                       companies, forecasted anticipated loan fees and default interest

24
                         per Mesirow collection forecast, responded to various questions

25
                         from creditors, and other related analyses and tasks. Total hours
                         incurred for this task code was 704.9 hours and total
26
                         professional fees incurred were $187,714.00.
27

28



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1                e.      Financial Projections: Time incurred in this activity code is
2                        relate to the time devoted to creating cash flow forecasts for the
3                        USACM estate prior to receiving the Mesirow budget. Total
4                        hours incurred for this task code was 18.7 and the total
5                        professional fees incurred was $4,675.00.
6                f.      General Case Strategy: Time incurred in this activity code is
7                        related to the time devoted to participating in numerous

8                        meetings with the members of the Official Committee of

9                        Unsecured Creditors of USA Commercial Mortgage to keep

10                       them informed of the case issues, participating in general

11                       meetings with the Debtor and other committee professionals,

12                       and related general meetings. Total hours incurred for this task

13                       code was 116.8 and the total professional fees incurred was

14                       $33,501.50.

15               g.      Liquidation Analysis: Time incurred in this activity code is

16                       related to the time devoted to the analysis of the liquidation

17                       value of the USACM estate prior to Mesirow’s analysis. Total

18                       hours incurred for this task code was 20.9 and the total

19                       professional fees incurred was $5,355.50.

20               h.      Misc. Motions and Responses: Time incurred in this activity

21                       code is relate to the time devoted to analysis and review of

22                       various motions filed in this case not elsewhere classified

23                       including: continued use of cash motion, motion to distribute

24
                         funds (including the calculation of the proposed amounts to be

25
                         distributed), retention and severance plan motion, motion to
                         convert, and other miscellaneous motions. Total hours incurred
26
                         for this task code was 73.5 and the total professional fees
27
                         incurred was $20,097.00
28



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1                   i.     Monthly Operating Reports: Included in this matter code is
2                          time related to the analysis and summary of all of the required
3                          monthly operating reports that were filed with the court. Total
4                          hours incurred for this task code was 56.3 hours and total
5                          professional fees incurred were $13,629.50.
6                   j.     Plan and Disclosure Statement: Included in this activity code
7                          is time related to assisting counsel in addressing various issues

8                          to be included in the Debtor’s Plan of Reorganization and

9                          Disclosure Statement, reviewing and commenting on various

10                         versions of the Plan and Disclosure Statement, participated in

11                         meeting and conference calls with Debtor to discuss plan issues,

12                         participated in negotiations with the other committees on

13                         settlement issues, and other related tasks. Total hours incurred

14                         for this task code was 161.3 hours and total professional fees

15                         incurred were $47,417.00.

16

17           See Exhibit C for a listing and detailed descriptions for all services provided

18    in this Sierra Application. Sierra has voluntarily decided to not charge for any fees

19    related to travel time or time related to preparing fee applications or any monthly

20    invoices.

21

22

23

24                                        CONCLUSION

25
             As outlined herein, Sierra believes its efforts have facilitated the Committee’s
26
      and Debtor’s efforts and have brought about a resolution to this matter that
27
      maximized the value for all of the creditors and the estate. Accordingly, Sierra
28
      believes that its services have been beneficial to the Debtor’s estate and the various


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1     interested parties, thereby satisfying the requirements provided by Bankruptcy Code
2     section 330.
3           Whereas, Sierra respectfully requests that the Court enter an Order:
4                      1. Allowing, on a final basis, total professional fees and expenses
5                         compensation sought in this Sierra Application in the amount
6                         of $376,225.55.
7                      2. Granting such other and further relief as the Court deems just

8                         and appropriate.

9           DATED this 22nd day of March 2007.
10                                       SIERRA CONSULTING GROUP, LLC.
11

12                                  By     ___/s/ Edward Burr_________________
                                         Edward Burr
13                                       Sierra Consulting Group, LLC
                                         Two North Central Avenue,
14                                       Suite 700
                                         Phoenix, AZ 85004
15

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